             Case 1:24-cv-00617-TJK               Document 18-8            Filed 09/02/24          Page 1 of 2

RE: follow-up on status of ICE FOIA request 2024-ICFO-01546, for


ICE-FOIA <ICE-FOIA@ice.dhs.gov>
Thu 12/21/2023 11:43 AM
To:​Michelle Doherty <mdoherty@bds.org>​
Good morning,

In regard to request 2024-ICFO-01546, expedited decision was denied on 11/12/2023. We have queried the
appropriate component of DHS for responsive records, and also sent a follow up query today- for responsive
records. If any responsive records are located, they will be reviewed for determination of releasability.

We will process your request as expeditiously as possible. Upon completion of the processing, all documents that
can be released will be made available to you as soon as possible. We sincerely apologize for the delay you are
experiencing and appreciate your continued patience.

Sincerely,

ICE FOIA



From: Michelle Doherty <mdoherty@bds.org>
Sent: Wednesday, December 13, 2023 11:51 AM
To: ICE-FOIA <ICE-FOIA@ICE.DHS.GOV>
Cc: Sarika Arya <sarya@bds.org>
Subject: follow-up on status of ICE FOIA request 2024-ICFO-01546, for

CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize and/or
trust the sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow
instructions.

Good Morning,

I write to follow-up on a pending ICE-FOIA request (2024-ICFO-01546) I submitted on October 11, 2023, for Mr.
               . On October 18, 2023, a brief response was provided asking for additional information. On
November 16, 2023, I submitted the attached response to the request for information. Today, I submitted a
message asking for a status update on the pending FOIA request for              and attached notice for his next
hearing. Below I have included a screenshot of the portal to document these communications.

I write to ask that            FOIA be expedited (no decision has been made as to that request). The basis for
the request to expedite this FOIA is discussed in the attached documentation. I also ask that the agency provide
the requested documents before                 next immigration court hearing, January 11, 2024. In short, Mr.
       is requesting documents that directly impact his claims for asylum, withholding of removal and protection
under the Convention Against Torture. The documents he is requesting are related to ICE’s admitted violation of
federal regulations by unlawfully sharing the lengthy immigration court decision in             asylum case, and
other violations or disclosures regarding             fear-based claims to third parties.

Please note that I called the phone number (866-633-1182) listed on ICE’s initial response to         FOIA
request, but that number is not monitored by a human and thus I could not reach the FOIA Public Liaison
referenced. The recorded message provided an email address (ICE-FOIA@ice.dhs.gov) for inquiries about pending
ICE FOIAs.
           Case 1:24-cv-00617-TJK         Document 18-8       Filed 09/02/24   Page 2 of 2
Best,
Michelle




Michelle Lee Doherty (she/her)
Senior Attorney, New York Immigrant Family Unity Project (NYIFUP)
Brooklyn Defender Services

M: (917) 685-9457
F: (347) 227-0119
www.bds.org
